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                  IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Scott Venters                            )      Case No.
                                                )
                                                )
      Plaintiff                                 )      COMPLAINT
                                                )
                                                )
v.                                              )      July Demand Requested
                                                )
      Client Services, Inc.                     )
      3451 Harry S. Truman Blvd                 )
      Saint Charles, MO 63301-4047              )
                                                )
      Defendant                                 )
______________________________________________________________________
   Now comes Plaintiff, by and through his attorneys, and, for his Complaint alleges as
                                        follows:

                                        INTRODUCTION

             1. Plaintiff, Scott Venters, brings this action to secure redress from
                unlawful collection practices engaged in by Defendant, Client Services,
                Inc., Incorporated. Plaintiff allege violation of the Fair Debt Collection
                Practices Act, 15 U.S.C. Section 1692 et seq. (“FDCPA”).
             2. The FDCPA makes clear that within five days of any initial
                communication, a debt collector clearly state who the current creditor
                of the Debtor is. 15 U.S.C. Section 1692g
                                   APPLICABLE CASE LAW
             3. In Janetos vs. Fulton Friedman & Gullace, LLP (No. 15-01859), (7th
                Cir., 2016), the Seventh Circuit Court of Appeals stated if a dunning
                letter fails to disclose the required language in 15 U.S.C. Section
                1692g(a), it violates the FDCPA.
             4. Said case stated “[T]o satisfy Section 1692g(a), the debt collector’s
                notice must state the required information ‘clearly enough that the
                receipient is likely to understand it.’” Id.
             5. The act requires a Debt Collector, such as the Defendant in this case,
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          to the creditor to whom the debt is owed. Id.
       6. If an initial dunning letter fails to disclose the required information
          clearly, it violates the FDCPA, without further proof of confusion. Id.



                      JURISDICTION AND VENUE
       7. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
          1367; and 15 U.S.C. section 1692(d).
       8. Venue is proper because a substantial part of the events giving rise to
          this claim occurred in this District.
                              PARTIES
       9. Plaintiff, Scott Venters (hereinafter “Plaintiff”) incurred an obligation to
          pay money, the primary purpose of which was for personal, family, or
          household uses (the “Debt”).
       10. Plaintiff is a resident of the State of Illinois
       11. Defendant, Client Services, Inc. (“Defendant”), is a Missouri business
          entity with an address of 3451 Harry S Truman Blvd., Saint Charles,
          MO 63301-4047 operating as a collection agency, and is a “debt
          collector” as the term is defined by 15 U.S.C. Section 1692a(6).
       12. Unless otherwise stated herein, the term “Defendant” shall refer to
          Client Services, Inc..
       13. At some point, the original creditor, transferred this debt to Defendant
          for debt collection.
                                      ALLEGATIONS
       14. The Plaintiff allegedly incurred a financial obligation in the approximate
          amount of $5,239.63 (the “Debt”) to a creditor (the “Creditor”)
       15. The Debt was purchased, assigned or transferred to Defendant for
          collection, or Defendant was employed by the Creditor to collect to
          Debt.
       16. The Defendant attempted to collect the Debt and, as such, engaged in
          “communications” as defined in 15 U.S.C. Section 1692a(2).
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       17. On September 13, 2017, Defendant sent an initial communication to
          Plaintiff. See Exhibit A.
       18. On or about September 20, 2017, Plaintiff received said
          communication from Defendant.
       19. Said letter does not state whom this debt is owed to. See Exhibit A.
       20. Said letter only states in the caption “RE: FIFTH THIRD BANK” See
          Exhibit A.
       21. Then in the opening line of said letter, it states “[T]he above account
          has been placed with our organization for collections.”
       22. Nothing in the letter states who the creditor is or who the debt is owed
          to at all.
       23. The Plaintiff, as well as any unsophisticated consumer, is unclear on
          who the creditor is that that this debt is owed to. See Exhibit A.
       24. This letter gives the unsophisticated consumer (or anyone else for that
          matter) no clear guidance as to whom the debt is owed to.
       25. The letter is confusing and unclear to the Plaintiff who the debt is
          actually owed to.

                              STANDING AND INJURY

       26. Plaintiff has suffered an injury in fact that is traceable to Defendant's
          conduct and that is likely to be redressed by a favorable decision in
          this matter.
       27. Specifically, Plaintiff suffered a concrete informational injury as a result
          of Defendant's failure to provide truthful information in connection with
          its attempt to collect an alleged debt from Plaintiff.
       28. The rights and obligations established by section 1692g were
          considered by the Senate at the time of passage to be a “significant
          feature” of the Act. “This provision [section 1692g] will eliminate the
          recurring problem of collectors dunning the wrong person or attempting
          to collect debts which the consumer has already paid.”
                                         reprinted in
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       29. The Plaintiff has suffered and continues to suffer actual damages as a
          result of the Defendant’s unlawful conduct.
       30. As a direct consequence of the Defendant’s acts, practices and
          conduct, the Plaintiff suffered and continues to suffer from humiliation,
          anger, anxiety, and frustration.




VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
       31. The Plaintiff incorporates by reference all of the above paragraphs of
          this Complaint as though fully stated herein.
       32. The Defendant’s conduct violated 15 U.S.C. Section 1692g(a) by not
          stating who the creditor was on this matter.


                                    JURY DEMAND
       33. Plaintiff demands a trial by jury.
                                    PRAYER FOR RELIEF
       34. Plaintiff demands the following relief:
       WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
       against Defendant for:
                    (1) Statutory damages;

                     (2) Attorney fees, litigation expenses and costs of suit; and

                     (3) Such other and further relief as the Court deems proper.

                                                     Respectfully submitted,


                                                /s/ John Carlin__________________
                                                  John P. Carlin #6277222
                                                  Suburban Legal Group, PC
                                                  1305 Remington Rd., Ste. C
                                                  Schaumburg, IL 60173
                                                  jcarlin@suburbanlegalgroup.com
                                                  Attorney for Plaintiff
